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  Jason R. Melzer - 027742003
  Patricia C. Schiraldi - 248182017
  COLE SCHOTZ P.C.
  Court Plaza North
  25 Main Street
  P.O. Box 800
  Hackensack, New Jersey 07602-0800
  201-489-3000
  201-489-1536 Facsimile
  Attorneys for Redi-Data, Inc.

  REDI-DATA, INC.,                                    SUPERIOR COURT OF NEW JERSEY
                                                      LAW DIVISION: ESSEX COUNTY
                           Plaintiff,                 DOCKET NO.

            v.                                                          Civil Action

  INTERNATIONAL BUSINESS MACHINES                         COMPLAINT AND JURY DEMAND
  CORPORATION,

                           Defendant.

           Plaintiff, Redi-Data, Inc. (“Redi”), by way of its Complaint against the defendant,

  International Business Machines Corporation (“IBM”), states and alleges as follows:

                                             THE PARTIES

           1.       Redi is a New Jersey corporation that maintains a principle place of business at

  107 Little Falls Road, Fairfield, New Jersey 07004.

           2.       IBM is a New York corporation that maintains a principal place of business at 1

  New Orchard Road, Armonk, New York 10504.

                                        JURISDICTION AND VENUE

           3.       This Court has jurisdiction over IBM pursuant to Rule 4:4-4 because IBM

  contracted with Redi to provide services in New Jersey and Redi’s claims arise from the

  transaction of such business.

           4.       Moreover, IBM systematically conducts business in the State of New Jersey.




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           5.       Venue is proper in this Court pursuant to Rule 4:3-2(a)(3) because Redi resides in

  Essex County and the cause of action arose in Essex County.

                                            INTRODUCTION

           6.       Redi has sustained substantial damages as a result of IBM’s failure to perform its

  obligations under the parties’ agreement. Redi contracted with IBM for email deployment

  services and cloud services. IBM not only failed to fulfill its obligations under the agreement, it

  also wrongfully retained funds prepaid for services not rendered, despite numerous demands for

  a refund by Redi. Redi, on the other hand, has met all of its obligations under the agreement, and

  has been left with no other option but to commence this suit against IBM.

                                 FACTS COMMON TO ALL CLAIMS

           7.       Redi provides, among other services, email deployment services to medical

  professionals on behalf of life science companies and their advertising agencies.

           8.       Redi relies on IBM to facilitate email deployment services to its clients.

           9.       Redi entered into an agreement (“Agreement”) with IBM to deliver US based

  email deployment services for a large life science company for a 12 month period ending

  December 31, 2018. (A copy of the Agreement is appended hereto as Exhibit A).

           10.      Pursuant to the Agreement, Redi agreed to pay IBM a total of $65,633.90 for,

  among other things, IBM’s digital campaign automation services for a thirteen (13) month

  period. (A copy of the IBM Invoice for $65,633.90 is attached hereto as Exhibit B).

           11.      Redi contracted with IBM, to use IBM’s Silverpop “Cloud Service” deployment

  platform for this same period and prepaid the annual fee related to this service.

           12.      On January 2, 2018 Redi issued a check to IBM for $65,633.90, which IBM

  cashed. (A copy of the check is appended hereto as Exhibit C).



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           13.      IBM’s services are not Redi’s “primary purpose or most significant component of

  marketing services” for Redi, and Redi’s services “provide added value to end customers” in the

  medical profession “over and above the use of the Cloud Service[.]” See Exhibit A page 7.

           14.      To date, IBM has not made Redi aware of any material breaches of Redi’s

  obligations under the Agreement, a security breach, or a violation of United States law.

           15.      On April 6, 2018, a foreign online policing entity called the Spamhaus Project,

  Ltd. (“Spamhaus”) blacklisted Redi, which had the effect of redirecting legitimate Redi emails

  into recipients’ junk mailboxes as opposed to their inboxes.

           16.      Spamhaus tracks email spammers and spam-related activity on the internet and

  compiles lists of domain names Spamhaus believes engages in spamming. These lists are

  referred to as blacklists.

           17.      Upon information and belief, Spamhaus informed IBM that Redi was placed on

  its blacklist.

           18.      Spamhaus’ actions of placing Redi on its blacklist were unjustified and improper.

           19.      Spamhaus subsequently removed and later reinstated Redi on its blacklist without

  explanation several times.

           20.      The Agreement between Redi and IBM does not require that Spamhaus—a

  foreign entity—approve Redi’s business model in order for IBM to facilitate service under the

  Agreement.

           21.      There is no requirement in the Agreement that recipients of emails “opt in” to

  receiving messages before they are sent from Redi’s IBM account.

           22.      Indeed, Redi’s business operation and business model are in full compliance with

  all United States laws, including the CAN-SPAM Act of 2003, 15 U.S.C. § 7701-7713.



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           23.      Nevertheless, on April 6, 2018, in response to Spamhaus’s improper actions, IBM

  terminated Redi’s access to email deployment platform and services, as agreed upon in the

  Agreement, thereby paralyzing Redi’s email deployment business.

           24.      Since then, Redi has made numerous requests of Redi to reinstate IBM’s service

  under the Agreement.

           25.      Despite these requests for IBM to perform its obligations under the Agreement,

  IBM has refused to reactivate service, and therefore, IBM is in breach of the Agreement.

           26.      On May 14, 2018, left with no alternative, Redi requested a refund for the unused

  balance on the account, which was paid in anticipation of services being rendered under the

  Agreement.

           27.      A breakdown of funds paid by Redi per the Agreement for services not performed

  by IBM is listed below:

   IBM Watson Campaign Automation Engage Message
                                                                             Unit
                                                                  Qty        Price    Amount
   By Contract                                                    54,158,000 0.001098 $59,465.22
   Used                                                            9,351,902 0.001098 $10,268.29
   Due to Redi‐Data, Inc                                                              $49,196.93
   IBM WATSON CAMPAIGN AUTOMATION ‐ADDON‐EMAIL‐
   INSIGHTS OPENS‐ FUNCTION‐ HUNDRED THOUSAND EVENTS
   PER MONTH

                                                                  # Month      Unit Price Amount
   By Contract                                                              13    $45.50    $591.50
   Used                                                                      4    $45.50    $182.00
   Due to Redi‐Data, Inc                                                                    $409.50


   IBM WATSON CAMPAIGN AUTOMATION‐ADDON‐IP ADDRESS‐
   RESOURSE‐REPUTATION IDENTITY PER ANNUM
                                                                  # Month      Unit Price Amount
   By Contract                                                              13  $426.00    $5,538.00
   Used                                                                      4  $426.00    $1,704.00
   Due to Redi‐Data, Inc                                                                   $3,834.00

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   Total due to Redi‐Data, Inc                                                             $53,440.43


           28.      IBM refused and refuses to provide a refund for the total amount due to Redi,

  which amounts to $53,440.43.

           29.      On June 6, 2018, Redi’s counsel mailed a letter to IBM demanding a refund of

  wrongfully retained funds for services not rendered, but again, IBM refused.

           30.      As a result, Redi has suffered substantial damages.

           31.      As a consequence of IBM breaching its contract with Redi, Redi’s relationships

  with its customers have been severely impacted and Redi has suffered damages resulting

  therefrom.

                                            FIRST COUNT
                                          (Breach of Contract)

           32.      Redi repeats and realleges the allegations contained in the preceding paragraphs

  of the Complaint as if set forth at length herein.

           33.      The Agreement constitutes a valid and enforceable agreement by and between

  Redi and IBM.

           34.      Notwithstanding its obligations under the Agreement, IBM has failed to provide

  email deployment services, and refuses to restart the server. In addition, IBM has refused to

  refund Redi for funds wrongfully retained.

           35.      Redi has performed its obligations under the Agreement.

           36.      As a direct and proximate result of IBM’s breach of the Agreement, Redi has

  suffered substantial monetary damages.

           WHEREFORE, Plaintiff, Redi-Data, Inc., hereby demands judgment on the Defendant,

  International Business Machines Corporation, as follows:


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           A.       an award of compensatory damages;

           B.       consequential damages;

           C.       interest, attorneys’ fees and costs; and

           D.       other damages to be determined at trial.

                                            SECOND COUNT
                                           (Unjust Enrichment)

           37.      Redi repeats and realleges the allegations contained in the preceding paragraphs

  of the Complaint as if set forth at length herein.

           38.      IBM has failed and refused to refund Redi $53,440.43, which amounts to the total

  unused balance on the account.

           39.      As a consequence of its failure to refund the unused balance, IBM has received a

  substantial financial benefit.

           40.      IBM understood that Redi reasonably expected to receive a refund of its payment

  for services not rendered.

           41.      Despite demand for payment, IMB has wrongfully retained substantial financial

  benefits and under circumstances in which it would be inequitable to do so, resulting in unjust

  enrichment.

           WHEREFORE, Plaintiff, Redi-Data, Inc., hereby demands judgment on the Defendant,

  International Business Machines Corporation, as follows:

           A.       an award of compensatory damages;

           B.       consequential damages;

           C.       interest, attorneys’ fees and costs; and

           D.       other damages to be determined at trial.




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                                           THIRD COUNT
                   (Breach of the Implied Covenant of Good Faith and Fair Dealing)

           42.      Redi repeats and realleges the allegations contained in the preceding paragraphs

  of the Complaint as if set forth at length herein.

           43.      A valid Agreement exists between Redi and IBM.

           44.      Redi performed its obligations under the Agreement.

           45.      IBM acted in bad faith and with malicious motive by failing to reactivate Redi’s

  access to IBM’s server, despite repeated demands that IBM do so.

           46.      IBM has acted in bad faith and with malicious motive by failing to refund Redi

  for funds wrongfully retained.

           47.      IBM has denied Redi its bargained for benefit to transmit emails through IBM’s

  server, and thus has breached the implied covenant of good faith and fair dealing.

           48.      IBM’s conduct has caused Redi to suffer damage.

           WHEREFORE, Plaintiff, Redi-Data, Inc., hereby demands judgment on the Defendant,

  International Business Machines Corporation, as follows:

           A.       an award of compensatory damages;

           B.       consequential damages;

           C.       interest, attorneys’ fees and costs; and

           D.       other damages to be determined at trial.




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                                                 COLE SCHOTZ P.C.
                                                 Attorneys for Plaintiff, Redi-Data, Inc.


                                                 By:    /s/ Jason R. Melzer
                                                        Jason R. Melzer
                                                        Patricia C. Schiraldi
  DATED: August 16, 2018




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                              DESIGNATION OF TRIAL COUNSEL

           Pursuant to the provisions of Rule 4:25-4, this Court is hereby advised that Jason R.

  Melzer, Esq. is designated as trial counsel for Redi-Data, Inc.

                                                        COLE SCHOTZ P.C.
                                                        Attorneys for Plaintiff, Redi-Data, Inc.


                                                        By:     /s/ Jason R. Melzer
                                                                Jason R. Melzer
                                                                Patricia C. Schiraldi
  DATED: August 16, 2018




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                                             JURY DEMAND

           Plaintiff demands a trial by jury for all issues so triable.


                                                           COLE SCHOTZ P.C.
                                                           Attorneys for Plaintiff, Redi-Data, Inc.


                                                           By:     /s/ Jason R. Melzer
                                                                   Jason R. Melzer
                                                                   Patricia C. Schiraldi
  DATED: August 16, 2018




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                                           CERTIFICATION

           I certify that the foregoing matter in controversy is not the subject of a pending action or

  arbitration proceeding, nor is any action or arbitration proceeding contemplated at this time. I

  further certify that, to the best of my knowledge, no other parties need be joined in this matter.

           I certify that confidential personal identifiers have been redacted from documents now

  submitted to the court, and will be redacted from all documents submitted in the future in

  accordance with Rule 1:38-7(b).

           I certify that the foregoing statements made by me are true. I am aware that if any of the

  foregoing statements made by me are willfully false, I am subject to punishment.



                                                         By:     /s/ Jason R. Melzer
                                                                 Jason R. Melzer
                                                                 Patricia C. Schiraldi
  DATED: August 16, 2018




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                       EXHIBIT A
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International Business Machines Corporation
International Business Machines Corporation, PO Box 643600, Pittsburgh, PA
15264-3600                                                                                                           *   mmm O




IBM Quotation
Attn: Peter Brooks
Redi-Data, Inc
107 Little Falls Rd
FAIRFIELD NJ 07004-2105
UNITED STATES

 IBM Site Number 3729917
 IBM Customer Number: 7490176




  Dear Peter Brooks

 Thank you for being an IBM Client. We are delighted to provide this quote for IBM offerings.
 Worldwide, companies like yours are Increasingly demanding more from their information technology infrastructure,
 increased flexibility, scalability and agility to meet changing business needs. At the same time, they want reduced cost,
 rapid deployment and investment recovery.
  Over the years, our products, services and solutions capabilities have given our Clients the reliability, availability, security,
  and manageability to improve operations and achieve efficiency while accommodating growth at reduced cost. These
  characteristics have been and will remain fundamental to the IBM portfolio.
  This quotation is valid from 14-Dec-2017 and will expire on 31-Dec-2017.
  We look forward to your order.
  To place your order, please contact the IBM Representative below to notify them of your preferred business partners for
  this quotation. You may also contact your IBM Representative for any questions regarding your quotation.

  Yours sincerely,

  MARK L. COLEMAN
  Phone Number; 1-203-448-7214
  Fax Number:
  E-mail Address: mlcolema@us.ibm.com




                                                                           Page 1 of 5
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International Business Machines Corporation
International Business Machines Corporation, PO Box 643600, Pittsburgh, PA
15264-3600


IBM Quotation
Quotation Information                                        Customer Information
Number: 17858719                                             Attn: Peter Brooks
Effective Date: 14-Dec<2017                                  Redi-Data, Inc
Expiration Date: 31-Dec-2017                                 107 Little Falls Rd
                                                             FAIRFIELD NJ 07004-2105
                                                             UNITED STATES

Sales Representative                                         IBM Site Number: 3729917
IBM Contact: MARK L. COLEMAN
Phone Number 1-203-448-7214                                  IBM Customer Number: 7490176
E-mail Address: irilnnlRma@us.ifa m   cnm




Summary
Software, Appliance, and Subscription and Support Total                                         0.00
Software as a Service Total                                                                65,593.32
Estimated Tax                                                                                  40.58
Total                                                                                      65,633.90 USD




Software as a Service

Subscription Entitlements

IBM Watson Campaign Automation Engage Message 1000 Digital Messages per Month

Subscription Part#: D1AVQLL                        Committed Term: 13 Months
Overage Par#f: D1AW6LL                             Committed Term Price Change: Not applicable
Billing: Upfront                                   Renewal Type: Terminate at end of current term
Unit Price: Tiered
Start date: 05-Dec-2017

Item        Quantity        Month                 Subscription Rate             Item Price          Overage Rate
 1          4,166           1-13                         59,465.12              59,465.12                 1.6300
 Subtotal                                                                       59,465.12 USD


IBM Watson Campaign Automation-Service Levei Agreement
Subscription Part#: D1ILHLL                        Committed Term: 13 Months
Billing; Upfront                                   Committed Term Price Change: Not applicable
Unit Price: Tiered                                 Renewal Type: Terminate at end of current term
Start date; 05-Dec-2017

 Item        Quantity       Month                 Subscription Rate              Item Price
 2           1              1-13                               0.00                   0.00
 Subtotal                                                                             0.00 USD

                                                                  Page 2 of 5
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International Business Machines Corporation
International Business Machines Corporation, PO Box 643600, Pittsburgh, PA
15264-3600




IBM Watson Campaign Automatlon-AddOn-Email Insights Opens-Functlon-Hundred Thousand
Events per Month

Subscription Part#; D1ILKLL                    Committed Term: 13 Months
Overage Part#: D1K5XLL                         Committed Term Price Change: Not applicable
Billing: Upfront                               Renewal Type: Terminate at end of current term
Unit Price; 147.55
Start date: 05-Dec-2017

Item        Quantity       Month              Subscription Rate              Item Price         Overage Rate
3           4              1-13                          590.20                 590.20                 11.35
Subtotal                                                                        590.20 USD


IBM Watson Campaign Automatlon-AddOn-IP Address-Resource-Reputation Identity per
Annum
Subscription Part#: D1MX1LL                    Committed Term: 13 Months
Billing; Upfront                               Committed Term Price Change: Not applicable
Unit Price: 1,107.60                           Renewal Type: Terminate at end of current term
Start date: 05-Dec-2017

Item        Quantity          Month           Subscription Rate              Item Price
4           5                 1-13                    5,538.00                 5,538.00
Subtotal                                                                       5,538.00 USD

 Subscriptions Sub-Total                                                     65,593.32 USD

Other Entitlements

IBM Watson Campaign Automatlon-AddOn-Domain-Resource-Reputation Identity On Demand
Setup

Part#: D1MX0LL                                 Committed Term Price Change; Not applicable
Item                                                  Unit Price
5                                                     567.00 Per Use


IBM Watson Campaign Automation-AddOn-Inbox Monitoring-Function-Event Pay Per Use

Part#: D1MX6LL                                 Committed Term Price Change: Not applicable
Item                                                  Unit Price
6                                                     5.67 Per Use




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International Business Machines Corporation
International Business Machines Corporation, PO Box 643600, Pittsburgh, PA
15264-3600




IBM Watson Campaign Automatlon-AddOn-OrganIzatlon-Resource-lnstance On Demand Set
Up

Part#: D1RZ7LL                                        Committed Term Price Change: Not applicable
Item                                                         Unit Price
7                                                            500.00 Per Use


Applicable tax will be recalculated at the time of order processing.
IBM acceptance of the order is subject to credit approval.
Upon placing your order, please supply a Purchase Order or, if not PO driven, a signed Firm Order Letter. The Purchase
Order value must cover the applicable charges for a minimum of one year. If the Total Term Is less than one year, the
Purchase Order value must cover the Total Commit Value.




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International Business Machines Corporation
international Business Machines Corporathnt PO Box 643600, Pittsburgh, PA 15264^3600




IBM Terms for IBM Cloud Offering Transactions
The referenced Cloud Services are governed by Ihe terms of your Cloud Service Agreement (w.vvw ihm..mm/lf:nns), its associated
attachment(s), and the referenced Transaction Documents. Your order and use of the Cloud Sers'ices are your acceptance of the prices
and terms referenced in this document, except to the extent superseded by a written amendment or agreement signed by both of us.
Final coverage dates for offerings listed are provided in your Proof of Entitlement.

Trfln.sncitinn nnpiitnRtiTs

Service Description(s) for ordered Cloud Services:
IBM WATSON CAMPAIGN AUTOMATION
hltp<}-//www ihm rnm/<innwarp/s1a/slndh nsf/sla/sd-6<?94TaS

Please read all terms for each of the above referenced Transaction Document(s) to ensure you are agreeing to the most recent version of
the document. If you have any trouble with the link provided, please copy and paste the appropriate URL in your browser’s navigation
bar.
Billing and Provisioning
At time of acceptance of this quote cither by Purchase Order or Finn Order Letter, IBM will begin billing for the SaaS Subscription(s) as
indicated above. When IBM is ready to provision the SaaS Subscription(s) in the quote IBM will use information provided by the Client,
as well as default technical data to configure the clients SaaS Subscription for access. IBM will notify the Client with details on the
provisioning on the date in which the Client can access the SaaS and the term for the SaaS will begin on the date indicated. If
provisioning information needs to be updated please refer to the IBM Software as a Service (SaaS) Support Handbook.
Please work with your IBM Sales rep to complete the provisioning data at or prior to time of order.




IBM Customer Number; 7490176
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International Business Machines Corporation
Intomadonal Business Machines Corporation, PO Box 643600, Pittsburgh, PA
15264-3600




To: Order Management

I have full authority to commit funding of 65,633.90 USD for payment under Quote Number 17858719, dated 14-Dec-2017 plus
any additional on-demand, overage, and partial month charges associated with contracted Software as a Service on this quote
on behalf of Redi-Data, Inc.




Bill to:                                                            Shifa to:
R(2di-Data, Inc                                                     Rodi-Data, Inc
107 Little Falls Rd                                                 107 Little Falls Rd
FAIRFIELD NJ 07004-2105                                             FAIRFIELD NJ 07004-2105
UNITED STATES                                                       UNITED STATES




Contact Name:       Natalya Baybik                                  Contact Name:    Peter Brooks


Contact Email:      nbaybik@redidata.com                            Contact Email:   pbrooks@redidata.com


Contact Phono:                                                      Contact Phono:   (862)881-2108



Quote Contact:
Contact Name:       Peter Brooks

Contact Email:      pbrooks@redidata.com


Contact Phono:      (862)881-2108


Authorized Signature:
                                   A                            /    i/a
Namo(type or print):                   bJjzhfili.   R
Title;                                  £14             CMJler
                                                    ~i,-a / 7
Date:                                      i 3




IBM Sales Rep;          MARK L. COLEMAN
Phono Number:           1-203-448-7214
E-mail Address:         rnlcolema@us.ibm.com
            ESX-L-005807-18 08/16/2018 4:24:09 PM Pg 8 of 8 Trans ID: LCV20181428813
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   Addendum to IBM Quotation Terms & Conditions

   The terms of this Addendum to the IBM Quotation Terms and Conditions ("Addendum") are in addition to or
   modify the terms and conditions of Quotation Number 17856801 ("Quotation") that accompanies this Addendum.
   This Addendum and the Quotation together govern this transaction for purposes of being invoiced by IBM for the
   Cloud Service detailed in the Quotation,
   This Addendum may not be disclosed or transferred outside of your Enterprise and shall apply to the Quotation
   only and shall not apply to any other transaction.



   1.       Additional Terms and Conditions You are authorized to use the Cloud Service in furtherance of the
   marketing services you perform for your end customers provided that (i) such marketing services provide added
   value to your end customers over and above the use of the Cloud Service and (ii) the Cloud Service is not the
   primary purpose or most significant component of marketing services you provide to your end customers.



   Once signed, any reproduction of this Addendum made by reliable means (for example, electronic image,
   photocopy or facsimile) is considered an original. Each of us agrees that the complete agreement, which replaces
   any prior oral or written communications between us regarding this transaction, consists of 1) this Addendum 2)
   the Service Description (“SDs") and, 3) the Cloud Services Agreement ("Agreement"), and 4) the Quotation.
   Capitalized terms not defined in this Addendum are defined in the Quotation, the SD, or the Agreement. You
   accept the terms of this Addendum by signing below. If there is a conflict between the terms of this Addendum,
   the Quotation, the SDs, and the Agreement, then the order of precedence is first, this Addendum; the Quotation;
   second, the SDs; third, the Agreement,




   Agreed to;                                               Agreed to:
   Client Name                                              Intornat
                                                                   e-   arn'el''bW/?F«?tftel5iyfl oration
   By.                                                       By,
            7          Authorized signature                                   Authorized signature

   Name (type or print):                      a M(7A         Name (type or print): Mark L, Coleman
   Title:       L^C<-  7
                /' fcr-.                                    Title: Strategic Sales Manager
   Date:         Zf/r/l.al                                   Date: 12/14/2017
   Customer identification number:                          Agreement number:




                                                                                                                1 of I
       ESX-L-005807-18 08/16/2018 4:24:09 PM Pg 1 of 5 Trans ID: LCV20181428813
Case 2:20-cv-17484-JMV-JBC Document 22-23 Filed 01/31/22 Page 21 of 28 PageID: 300




                        EXHIBIT B
       ESX-L-005807-18 08/16/2018 4:24:09 PM Pg 2 of 5 Trans ID: LCV20181428813
Case 2:20-cv-17484-JMV-JBC Document 22-23 Filed 01/31/22 Page 22 of 28 PageID: 301
       ESX-L-005807-18 08/16/2018 4:24:09 PM Pg 3 of 5 Trans ID: LCV20181428813
Case 2:20-cv-17484-JMV-JBC Document 22-23 Filed 01/31/22 Page 23 of 28 PageID: 302
       ESX-L-005807-18 08/16/2018 4:24:09 PM Pg 4 of 5 Trans ID: LCV20181428813
Case 2:20-cv-17484-JMV-JBC Document 22-23 Filed 01/31/22 Page 24 of 28 PageID: 303
       ESX-L-005807-18 08/16/2018 4:24:09 PM Pg 5 of 5 Trans ID: LCV20181428813
Case 2:20-cv-17484-JMV-JBC Document 22-23 Filed 01/31/22 Page 25 of 28 PageID: 304
       ESX-L-005807-18 08/16/2018 4:24:09 PM Pg 1 of 2 Trans ID: LCV20181428813
Case 2:20-cv-17484-JMV-JBC Document 22-23 Filed 01/31/22 Page 26 of 28 PageID: 305




                       EXHIBIT C
           ESX-L-005807-18 08/16/2018 4:24:09 PM Pg 2 of 2 Trans ID: LCV20181428813
 Case 2:20-cv-17484-JMV-JBC Document 22-23 Filed 01/31/22 Page 27 of 28 PageID: 306

Amount:        $65,633.90      Sequence Number: 5192263883

Account:                       Capture Date:   01/08/2018

Bank Number:                   Check Number:
           ESX-L-005807-18 08/16/2018 4:24:09 PM Pg 1 of 1 Trans ID: LCV20181428813
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                          Civil Case Information Statement
  Case Details: ESSEX | Civil Part Docket# L-005807-18

  Case Caption: REDI-DATA, INC. VS INT'L BUSINESS                  Case Type: CONTRACT/COMMERCIAL TRANSACTION
  MACHI NES COR                                                    Document Type: Complaint with Jury Demand
  Case Initiation Date: 08/16/2018                                 Jury Demand: YES - 6 JURORS
  Attorney Name: JASON R MELZER                                    Hurricane Sandy related? NO
  Firm Name: COLE SCHOTZ PC                                        Is this a professional malpractice case? NO
  Address: COURT PLAZA NORTH 25 MAIN ST                            Related cases pending: NO
  HACKENSACK NJ 076017015                                          If yes, list docket numbers:
  Phone:                                                           Do you anticipate adding any parties (arising out of same
  Name of Party: PLAINTIFF : Redi-Data, Inc.                       transaction or occurrence)? NO
  Name of Defendant’s Primary Insurance Company
  (if known): Unknown



        THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                        CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




  Do parties have a current, past, or recurrent relationship? YES
  If yes, is that relationship: Business
  Does the statute governing this case provide for payment of fees by the losing party? NO
  Use this space to alert the court to any special case characteristics that may warrant individual
  management or accelerated disposition:


  Do you or your client need any disability accommodations? NO
         If yes, please identify the requested accommodation:


  Will an interpreter be needed? NO
           If yes, for what language:




  I certify that confidential personal identifiers have been redacted from documents now submitted to the
  court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

  08/16/2018                                                                                           /s/ JASON R MELZER
  Dated                                                                                                             Signed
